June 4, 2025

VIA ECF

Susan E. Bindler
Clerk of Court
United States Court of Appeals for the Eighth Circuit
Thomas F. Eagleton U.S. Courthouse
111 South 10th Street, Room 24.329
St. Louis, MO 63102

       Re:     United States of America v. Tashena Crump (31)
               Oral Argument Availability—Case No. 24-3453

Dear Ms. Bindler:

       Counsel for Appellant Tashena Crump respectfully submits this letter regarding
availability for oral argument in the above-captioned matter.

       Counsel for Ms. Crump will be participating in a two-week state-court criminal trial
that will overlap completely with the October 20–24, 2025 future court setting. We will
promptly notify the Court if any conflicts with other oral argument dates arise.

       Thank you for your consideration of this conflict in scheduling the oral argument in
this matter.

                                           Sincerely,



                                           Caitlinrose H. Fisher


c:     Counsel of record (via e-service)




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